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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Northern Division)

 DAVID J. BOSHEA 1                                       *

            Plaintiff,                                   *

            v.                                           *        Case No. 1:21-CV-00309-ELH
 COMPASS MARKETING, INC.                                 *

            Defendant.                                   *

                                                         *
 *          *      *       *        *       *        *        *       *        *        *       *        *

                                           PRETRIAL ORDER

        David J. Boshea (“David Boshea”) for his Pretrial Order 2, brought in accordance with the

Court’s January 14, 2025 Order (ECF 296) and the Court’s standing order on the preparation of

final pretrial orders states:

                                        STATEMENT OF FACTS

                           DAVID BOSHEA’S STATEMENT OF FACTS THAT HE
                           PROPOSES TO PROVE IN SUPPORT OF HIS CLAIMS

1. David Boshea is deceased and at all relevant times was a resident of Illinois.

2. Compass Marketing, Inc. is a Virginia corporation headquartered in Maryland.

3. From its inception through the date of David Boshea’s termination, Compass focused its

     business on providing services to companies in the consumer packaged goods industry.



        1
          Counsel for David J. Boshea filed a Suggestion of Death and requested that the Court allow the case to
proceed as Ashley Boshea, Administrator for the Estate of David John Boshea.
        2
           On March 6, 2025, Counsel for David Boshea submitted to Compass Marketing’s attorneys a version of the
Pretrial Order, including David Boshea’s proposed items and language that Compass Marketing included in the final
pretrial order found at CM/ECF 196. Late on March 16, 2025, Compass provided its portion of the Pretrial Order,
which did not include David Boshea’s proposed submission. Today, David Boshea’s counsel asked that Compass
Marketing combine the documents, which apparently, Compass Marketing declined to do without advising David
Boshea’s counsel.
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4. In the early 1990’s, John White worked under David Boshea at Advantage Sales & Marketing,

   at which time David Boshea mentored John White.

5. Subsequently, John White, his brothers, Michael and Daniel, and another person formed

   Compass.

6. David Boshea wrote Compass’ business plan and assisted John White and Compass in

   obtaining its first customer.

7. Subsequently, John White, as Compass’ CEO, regularly solicited David Boshea to join

   Compass. However, David Boshea declined since he held significant positions with well-

   known large corporations.

8. In early 2007, John White intensified Compass’ pursuit of David Boshea.

9. In an April 1, 2007 email, John White emailed David Boshea to solicit him to join Compass in

   a senior position and introduced the idea of David Boshea receiving g an exit package:

       Also, you and I need to make sure we discuss an exit plan for you, even seperate [sic] from
       me selling Compass. We need to respect that we are friends and that working together could
       possibly hurt our relationship (has not happened before but I was always working for
       you!!!!). I just want to define expectations up front so we limit the chances of getting on
       two different tracks, but I want us both to agree how we can spit if we need to so we can
       be certain to save our friendship [sic].

       April 1, 2007 email from John White to David Boshea.

10. At that time, David Boshea was highly successful in the consumer packaged goods industry,

   holding a National Account Manager position with Energizer Holdings, Inc., the battery

   company.

11. David Boshea prepared and delivered to Compass a memo outlining the items he would need

   to consider, including contract terms, before deciding to join Compass.

12. On multiple occasions, including one on which his brother, Daniel, joined him, John White

   flew to Chicago to sell David Boshea on joining Compass.


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13. On May 16, 2007, John White sent an offer letter on Compass’ behalf in which Compass

   promised David Boshea a $180,000.00 annual salary, a bonus, health insurance, a car

   allowance, a 401k, a home office expense, a laptop, a copy machine, and reimbursement of all

   business-related travel expenses, plus two weeks’ vacation in 2007 and three-weeks in 2008.

   In addition, in the letter, Compass offered to pay 100% percent of business-related country

   club membership fees up to $32,000.00 over three years and “an involuntary exit package’ of

   3 times your salary (1 year will be immediately vested, with the additional 2 years accrued

   over the next three years).”

14. After David Boshea received the May 16, 2007 letter, he and Compass agreed to the terms

   outlined in ¶9 above.

15. During that month, David Boshea and Compass, through John White, signed an agreement

   titled “Compass Marketing, Inc. Agreement Related to Employment and Post-Employment

   Compensation.”

16. As evidence of the parties’ agreement, John White blind-copied his brother, Daniel White, on

   a May 22, 2007 email John White sent at 1:24 a.m. to David Boshea, including a draft Word

   version of the same severance agreement referenced in ¶11 above as an attachment.

17. The parties’ agreement provides that if David Boshea is terminated for any reason other than

   for cause, David Boshea will receive severance payments totaling $180,000.00 paid over 24

   months, commencing on his effective date of termination, and paid in accordance with

   Compass’ normal payroll cycle.

18. The parties’ agreement further provides that David Boshea’s severance will increase one month

   for every month he is employed with Compass to a maximum severance of $540,000.00.




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19. Because David Boshea was leaving his employment with Energizer Holdings, Inc., one of the

   world's largest manufacturers of batteries, to join Compass, a relatively small firm, the

   severance package was a strong driver in his decision to join Compass.

20. David Boshea began working at Compass Marketing on or around June 5, 2007.

21. Compass hired John Adams in 2007 and provided a written severance agreement bearing the

   same title as David Boshea’s severance agreement and containing terms substantially similar

   to those in David Boshea’s agreement.

22. Mr. Adams’ agreement provided him with the right to receive $120,000.00 in severance

   payments.

23. As Executive Vice President, David Boshea reported directly to John White, Compass’ CEO,

   while John Adams described himself as being on a lower tier in Compass’s flow chart.

24. Compass’ regular payroll schedule involved twice monthly payments of salary or wages.

25. After nearly thirteen (13) years with the company, Compass eliminated David Boshea’s

   position, i.e., Executive Vice President.

26. When Compass terminated David Boshea, Jerry Cain and Erin Songer of Compass told him

   that the only reason for firing him was a reduction in force, which was confirmed in a March

   3, 2020 letter from Compass, which stated, “Regrettably, your position was one of the positions

   selected to be eliminated due to a necessary reduction in force.”

27. After receiving the termination letter, David Boshea attempted to contact John White, but John

   White did not take his calls, respond to his emails, or otherwise contest David Boshea’s

   demand.

28. David Boshea also sent Erin Songer an email on March 16, 2020 with a copy to John White,

   reminding him that Compass needed to pay the severance he was owed. He wrote:



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        Hope your [sic] well. In follow up I wanted to follow up on my Compass exit payments:
        …
        “Misc Payments : My exit plan agreement with John White $540,000 earned after 3 years
        of service ( John White has agreement), …

        (March 16, 2020 email.

29. No one at Compass ever contacted David Boshea to dispute David’s email request or even

   responded to it.

30. Compass employed David Boshea from May 2007 until March 2020, approximately 155

   months before his involuntary termination.

31. Despite David Boshea’s repeated demands, Compass has failed to pay him any of the severance

   pay Compass owed.

32. Compass has never claimed David Boshea failed to perform his obligations under the

   Agreement.

33. Under the terms of the Agreement, Compass was obligated to pay David Boshea severance

   payments through the end of February 2021.

             DAVID J. BOSHEA’S LEGAL THEORIES IN SUPPORT OF EACH CLAIM

Count I - Breach of Oral Contract - David Boshea is entitled to severance payments owed to

him by Compass. David Boshea and Compass entered into a contract based on Compass’ oral offer

to employ David Boshea as a senior executive, which Compass Marketing memorialized in

Compass’ agreement titled, “Compass Marketing, Inc. Agreement Related to Employment and

Post-Employment Compensation,” and David Boshea’s acceptance of the offer. David Boshea

worked for Compass from 2007 to March 2020, thus satisfying his contractual obligations.

Because Compass terminated David Boshea’s employment involuntarily for a reason other than

cause and David Boshea is entitled to receive the maximum severance of $540,000.00 under the

agreement. Compass has not paid any severance owed to David Boshea. Compass breached the

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Agreement by failing to pay Boshea $540,000.00 in severance despite numerous demands for

payment, Compass never disputed that David Boshea was entitled to receive the severance

payments outlined in the Agreement until after David Boshea filed this lawsuit. Compass’ breach

of the Agreement caused Boshea to suffer damages of $540,000.00, plus prejudgment interest.

Count II - Breach of Written Contract –David Boshea is entitled to severance payments owed

to him by Compass. David Boshea and Compass entered into a contract titled, “Compass

Marketing, Inc. Agreement Related to Employment and Post-Employment Compensation,” which

David Boshea and Compass signed in May 2007. David Boshea worked for Compass from 2007

to March 2020, thus satisfying his contractual obligations. Because Compass terminated David

Boshea’s employment involuntarily for a reason other than cause and David Boshea is entitled to

receive the maximum severance of $540,000.00 under the agreement. Compass has not paid any

severance owed to David Boshea. Compass breached the Agreement by failing to pay Boshea

$540,000.00 in severance despite numerous demands for payment, Compass never disputed that

David Boshea was entitled to receive the severance payments outlined in the Agreement until after

David Boshea filed this lawsuit. Compass’ breach of the Agreement caused Boshea to suffer

damages of $540,000.00, plus prejudgment interest.

Count II – Violation of Maryland Wage Payment and Collection Law – As a result of the

agreement for the payment of Post-Employment Compensation, whether signed or oral, David

Boshea is entitled to recover wages owed to him under the Maryland Wage Payment and Collection

Law (the “MWPCL”). The MWPCL provides that severance payments fall within the definition

of “wages.” Under the MWPCL, Compass is an “employer,” and David Boshea is an “employee.”

The documents and testimony will show that Compass has no basis to believe it does not owe the

wages to David Boshea or that, in any event any such claim of its belief is not objectively



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reasonable. Because no bona fide dispute exists concerning the severance payments owed to David

Boshea, he is entitled to an award of up to three times the wages owed by Compass, reasonable

counsel fees, and his costs subject to the Court’s discretion.

                      DAVID BOSHEA’S STATEMENT CONCERNING THE NEED
                  TO MAKE ANY AMENDMENTS TO THE PLEADINGS HE HAS FILED

1. David Boshea does not request leave to amend any pleadings.

                           DAVID BOSHEA’S STATEMENT CONCERNING THE
                             NEED TO ABANDON ANY OF HIS PLEADINGS

1. David Boshea does not request leave to abandon any pleadings.

                                      PROPOSED STIPULATED FACTS

        1.       David Boshea is a resident of the state of Illinois.

        2.       Compass Marketing is a Virginia corporation headquartered in Annapolis,

Maryland.

        3.       Compass Marketing terminated David Boshea’s employment in March 2020. 3

                     DAVID BOSHEA’S DETAIL OF DAMAGES OWED BY COMPASS

    Count I - Breach of Oral Contract – David Boshea is entitled to recover $540,000.00 in

    severance payments. He calculated his damages by multiplying his $180,000.00 salary by three

    since he remained employed by Compass for more than thirty-six months, as outlined in his

    agreement with Compass.

    Count II - Breach of Written Contract – David Boshea is entitled to recover $540,000.00 in

    severance payments. He calculated his damages by multiplying his $180,000.00 salary by three




        3
          Compass Marketing has listed proposed stipulations in its form of Pretrial Order without consulting with
counsel for David Boshea. David Boshea does not stipulate to any facts other than those set forth in this proposed
order, which are identical to the stipulations agreed upon before in 2024.

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   since he remained employed by Compass for more than thirty-six months, as outlined in his

   agreement with Compass.

   Count III – Violation of Maryland Wage Payment and Collection Law – David Boshea is

   entitled to wages owed to him in the form of severance payments under the Maryland Wage

   Payment and Collection Law (the “Law”) of $1,620,000.00, which is equal to three times the

   wages owed to him by Compass. He is also entitled to receive reasonable counsel fees and his

   costs.

                                 DAVID BOSHEA’S EXHIBIT LIST

                                          See Exhibit A

                  COMPASS MARKETING, INC.’S PROPOSED EXHIBIT LIST 2F

       Compass Marketing, Inc. submitted its list of exhibits late on Sunday, March 16, 2025.

Because Compass Marketing has not provided sufficient time to object to the exhibits, David

Boshea objects to the foundation for each exhibit, materiality, prejudice, and hearsay.


                                DAVID BOSHEA’S WITNESS LIST

   Name                    Contact Information                         Expected to Call or
                                                                       May be Called?

   David Boshea            Who may be contacted through his Expected to Be Called
                           counsel.

   Julie Boshea            222 South Mill Street, Naperville           Expected to Be Called
                           Illinois 60540 (630) 355-8100

   John White              Who may be contacted              through Expected to Be Called
                           Compass’ counsel.

   John Adams              Who may be contacted              through Expected to Be Called
                           Compass’ counsel.

   Jim Wenz                (630) 992-5604                              May Be Called

   John Mancini            (717) 465-5645                              May Be Called


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   Compass Keeper of         Who may be contacted                 through May Be Called
   Payroll Records and       Compass’ counsel.
   Documents

   Donna Eisenberg           Who may be contacted through David               Expected to Be Called
                             Boshea’s counsel.

                 IDENTIFICATION OF EXPERTS DAVID BOSHEA EXPECTS AND THE
                SPECIALTIES OF THE EXPERT HE PROPOSES TO CALL AS A WITNESS

1. Donna Eisenberg of Forensic Document Examiner Services, LLC, who specializes in

   document and handwriting investigation and analysis.

                  DAVID BOSHEA’S DESIGNATION OF DEPOSITION TESTIMONY

1. David Boshea designates the following portions of his testimony appearing in Vol II of the
   February 21, 2024 Trial Transcript

   P. 9 Line 21-22, except the words “yes, your honor.”; P. 10, Line 1, P. 10, Line 9-15, P. 11 Line
   2 to 7; P. 11 Line 10 to P. 12 Line 3; P. 12 Line 6-20; P. 12 Line 25 to P. 13 Line 1; P. 13 Line 4 to
   13 Line 9; P. 13 Line 17 to P. 14 Line 6; P. 14 Line 12-21; P. 15 Line 3 to P. 17 Line 10; P. 17 Line
   12 to P. 17 Line 21; P. 19 Line 11 to P. 21 Line 4; P. 21 Line 12-16; P. 22 Line 4 to P. 25 Line 14; P.
   22 Line 14-15; P. 29 Line 3-7; P. 29 Line 10 to P. 31 Line 14 up to but not including “We provided
   a hearsay exception and a 901.”; P. 32 Line 19 to P. 35 Line 14; P. 35 Line 25 to P. 36 Line 24; P.
   37 Line 15 to P. 37 Line 22; P. 37 Line 25; P. 38 Line 9-16; P. 39 Line 2 to P. 44 Line 3; P. 45 Line
   5-6; P. 45 Line 9-16; P. 45 Line 22 to P. 46 Line 4; P. 46 Line 10-12; P. 46 Line 15 to P. 47 Line 4;
   P. 47 Line 9-18; P. 53 Line 12 to P. 55 Line 4; P. 53 lines 12-25; P. 54 lines 1-4, 19-25; P. 55 lines 1-
   25; P. 56 lines 1-25; P. 57 lines 1-25; P. 58 lines 1-25; P. 59 lines 1-13, 17-25; P. 60 lines 1-25; P. 61
   lines 1-6, 10-14, 17-20, 25; P. 62 lines 1-3, 5-8, 12-21, ; P. 67 lines 4-5, 9-25; P. 68 lines 1-4; P. 69
   lines 7-16, 20-23; P. 71 lines 7-25; P. 72 lines 1-25; P. 73 lines 1-25; P. 74 lines 1-25; P. 75 lines 1-
   2, 11-25; P. 76 lines 1-12; P. 77 lines 11-25; P. 78 lines 1-4, 6-19; P. 79 lines 6-13, 18-19; P. 80 lines
   1-22; P. 81 lines 2-13, 21-25; P. 82 line 1 ; P. 84 lines 3-8, 10-11, 18-25; P. 85 lines 1-5, 13-25; P. 86
   lines 1-25; P. 87 lines 1-25; P. 88 lines 1-9, 14-25; P. 89 lines 1-23; P. 90 lines 4-25; P. 91 lines 1-8;
   and P. 105 lines 14-25

2. David Boshea designates the following portions of John Adams’ October 28, 2021 Deposition

   Cover Page along with Page and line numbers: 4:8-18, 5:3-5, 6:6-13, 7:15-21, 8:7-14, 12:9-12,
   15:9-24, 16:1-20 and 24, 17:1-9, 20:7-24, 21:1-10, 22:3-18 and 22-24, 23:1-18 and 23-24,
   24:1-14, 25:3-14 and 22-24, 26:20-24, 27:1-11, 30:5-24, 31:1-24, 32:1-24, 33:1-24, 34:1-24,
   35:1-24, 36:1-12, 42:21-24, 43:1-24, and 44:1-24




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                        PRETRIAL MATTERS, INCLUDING MOTIONS FILED

      1.     No current motions are pending by either party. The parties preserve their rights
             with respect to the issues decided by the Court in connection with the parties’
             various in limine motions.

Dated: March 17, 2025

                                   Respectfully submitted,

                                   /s/ Gregory J. Jordan

                                   Gregory J. Jordan
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                                   Attorneys for Plaintiff David J. Boshea




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                                     EXHIBIT A

                           DAVID BOSHEA’S EXHIBIT LIST

                             David Boshea’s Exhibit List



Exhibit      Description                                     Identification Admitted

Exhibit 1    David Boshea Resume

Exhibit 2    April 1, 2007, John White email to David
             Boshea

Exhibit 3    David Boshea April 2007 Memo to John
             White

Exhibit 4    May 16, 2007 John White offer letter to David
             Boshea

Exhibit 5    John White May 22, 2007 email to David
             Boshea blind copied to Daniel White and
             forwarded to Michael White

Exhibit 6    John White May 22, 2007 email attachment
             sent to David Boshea attached to Boshea
             Exhibit 5

Exhibit 7    John White May 22, 2007 email information
             page for attachment sent to David Boshea

Exhibit 8    Compass Marketing, Inc. Agreement Related
             to Employment and Post-Employment
             Compensation

Exhibit 9    John Adams Severance Agreement

Exhibit 10   David Boshea 09-16-2015 Notes

Exhibit 11   Group Exhibit David Boshea 01/3/17 Paystub
             and email chain with Michael White

Exhibit 12   David Boshea Payroll Records

Exhibit 13   Compass Termination Notice
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 Exhibit 14      David Boshea March 12, 2020 email from
                 John White

 Exhibit 15      March 16, 2020 Email from David Boshea to
                 Erin Songer Re: Follow Up on Separation

 Exhibit 16      David Boshea October 22, 2020 email to John
                 White

 Exhibit 17      David Boshea December 7, 2020 email to John
                 White

 Exhibit 18      Donna Eisenberg Expert Report

 David Boshea adopts each exhibit offered by Compass as one of his exhibits to which he has
 stated that he has no objection to its entry into evidence.



     Despite having David Boshea’s Exhibit List since March 6, 2025, and the exhibits in 2024,
Compass Marketing did not submit any objections to the admissibility of David Boshea’s exhibits.




                                               2
